                                  AMERICAN ARBITRATION ASSOCIATION
                                      Commercial Arbitration Tribunal

In the Matter of the Arbitration between

Case Number: 01-22-0005-0289

Dalimonte Rueb Litigation Group, L.L.P. and
Gregory D. Rueb        "Claimants"
-vs-
Ronald S. Lasorsa      "Respondent"

                                        FINAL A WARD OF ARBITRATOR

    I, THE UNDERSIGNED ARBITRATOR, having been designated in accordance with the arbitration agreement

entered into between the above-named parties and dated March 19, 2019, and having been duly sworn, and having

duly heard the proofs and allegations of the Claimants, represented by Andrew Solomon, Esq., Paul Summit, Esq.,

and Clark Freeman, Esq., and Respondent, appearing Pro Se, and oral argument having been held via

videocoilference on May 8, 2023, hereby AWARD as follows:


    1. Consistent with the Partial Final Award issued on June pt, 2023, Claimants have submitted a number of

invoices listing the sums requested as damages, interest, as well as attorneys' fees. 1

    2. As determined in the Partial Final Award dated June 1, 2023, the Tribunal orders Respondent to pay the

amount of USD 500,000.00 (five hundred thousand United States dollars) to the Claimants as compensation for the

damages Claimants suffered as a result of Respondent's contractual breach.

    3. Furthermore, the Tribunal finds that under Section 13 of the Settlement Agreement, Respondent must pay

interest on the amount mentioned above at the rate of 18% per annum. The interest started accruing on the date of

the first breach, namely November 201h, 2022,2 until the date the Partial Final Award was issued, on June 1"\ 2023,

totaling 193 days. Therefore, the Tribunal orders Respondent to pay the amount of USb $47,589.04 (forty seven

thousand five hundred and eighty nine United States dollars and four cents) in pre-award interest.

    4. Finally, the Tribunal found in its Partial Final Award that Respondent must compensate Claimants for the

amount expended in attorneys' fees. The Tribunal has reviewed the invoices submitted by Claimants, including



1 See Dalimonte v. Lasorsa, Case Number: 0l-22-0005-0289, Partial Award; para. 78 (June   1"1, 2023).
2 See Dalimonte v. Lasorsa, Case Number: 0l-22-0005-0289, Partial Award, para. 34, 46 (June    Pt, 2023).
AAA Case No. 01-22-0005-0289
US_ACTIVE\123864955\V-2




          Case 5:24-cv-00031-BO-RN Document 18-5 Filed 05/28/24 Page 1 of 2
  applicable rates and discounts, and found the sums therein reasonable in accordance with Rule 47(d) of the AAA

  Commercial Arbitration Rules. Therefore, the Tribunal orders Respondent to pay USD 59,751.18 (fifty nine thousand

  seven hundred and fifty one United States dollars and eighteen cents) to Claimants~ reimbursement of attorneys'

  fees. The Tribunal finds that the amounts Claimants disbursed on contract paralegals do not constitute attorneys'

  fees, and therefore are not recoverable.

      The administrative fees of the American Arbitration Association totaling $5,500.00 and the compensation of the

  Merits Arbitrator totaling $47,523.00 shall be borne by Claimants. The compensation of tl,le Emergency Arbitrator

  totaling $24,510.00 shall be borne as incurred.


      This Final Award is in full settlement of all claims and counterclaims submitted to this Arbitration. All claims

  not expressly granted herein are hereby denied.


r,
J ~IV .J<'-j .).e7~f
  Date



      I, Daniel A. Schnapp, do hereby affirm upon my oath as Arbitrator that I am the individual described in and who

  executed this instrument which is my Final Award.




  Date                                              Daniel A. Schnapp




   AAA Case No. 01-22-0005-0289                                                                                     2
  US'-ACTIVE\123864955\V-2




           Case 5:24-cv-00031-BO-RN Document 18-5 Filed 05/28/24 Page 2 of 2
